      Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 1 of 14



David H. Krieger, Esq.
Nevada Bar No. 9086
George Haines, Esq.
Nevada Bar No. 9411
Shawn Miller, Esq
Nevada Bar No. 7825
HAINES & KRIEGER, LLC
8985 S. Eastern Avenue, Suite 350
Henderson, Nevada 89123
Phone: (702) 880-5554
FAX: (702) 9385-5518
Email: dkrieger@hainesandkrieger.com
Email: ghaines@hainesandkrieger.com
Email: smiller@hainesandkrieger.com

Matthew I. Knepper, Esq.
Nevada Bar No. 12796
Miles N. Clark, Esq.
Nevada Bar No. 13848
KNEPPER & CLARK LLC
10040 W. Cheyenne Ave., Suite 170-109
Las Vegas, NV 89129
Phone: (702) 825-6060
Fax: (702) 447-8048
Email: matthew.knepper@knepperclark.com
Email: miles.clark@knepperclark.com

Attorneys for Plaintiff
SYLVIA QUINN, individually and those similarly situtated

                          UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA

                                            :
 SYLVIA QUINN, indvidually and on behalf of :
 all and others similarly situated,         : Civil Action No.:
                                            :
                         Plaintiff,         :
         v.                                 : COMPLAINT
                                            :
 WELTMAN, WEINBERG & REIS CO., LPA, : JURY TRIAL DEMANDED
                                            :
                         Defendant.         :
                                            :
                                            :
     Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 2 of 14



      For this Complaint, Plaintiff, SYLVIA QUINN (“Plaintiff”) indvidually and

on behalf of all and others similarly situated, by undersigned counsel, states as

follows:


                                  JURISDICTION
      1.     This action arises out of Defendant’s violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”) by negligently,

knowingly, and/or willfully making calls which used an artificial or prerecorded

voice to Plaintiff’s cellular phone without consent, thereby violating the TCPA.

      2.     Plaintiff alleges as follows upon personal knowledge as to Plaintiff

and Plaintiff’s own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by Plaintiff’s attorneys.

      3.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this

Court has original jurisdiction over Plaintiff’s TCPA claims. Mims v. Arrow Fin.

Serv., LLC, 132 S.Ct. 740 (2012).

      4.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &

(c), because Plaintiff resides within the District of Nevada, a substantial portion of

the events or omissions giving rise to the claim occurred in this District, and

Defendant regularly conducts business in this District.

                                      PARTIES
      5.     Plaintiff is an adult individual residing in Las Vegas, Nevada.


                                           2
     Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 3 of 14



      6.     Plaintiff is, and at all times mentioned herein was, a “person” as

defined by 47 U.S.C. § 153(39).

        7.   Defendant WELTMAN, WEINBERG & REIS CO., LPA (“WWR”),

is doing business in the State of Nevada.

      8.     Defendant is and at all times mentioned herein was, a corporation and

is a “person,” as defined by 47 U.S.C. § 153 (39).

      9.     WWR at all times acted by and through one or more of its agents or

representatives.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

      10.    In 1991, Congress enacted the TCPA in response to a growing number

of consumer complaints regarding certain telemarketing practices.

      11.    The TCPA regulates, among other things, the use of artificial or

prerecorded voice calls placed to consumer cellular phones to collect debts.

      12.    Specifically, 47 U.S.C. § 227(b)(1)(A)(i)-(iii) prohibits any call using

an artificial or prerecorded voice to a cellular phone without prior express consent

by the person being called, unless the call is for emergency purposes.

      13.    In Marks v. Crunch San Diego LLC, the Ninth Circuit noted that the

statutory definition of an ATDS: “equipment which has the capacity—(1) to store

numbers to be called or (2) to produce numbers to be called, using a random or

sequential number generator—and to dial such numbers automatically (even if the


                                            3
       Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 4 of 14



system must be turned on or triggered by a person)[.]”1 The panel clarified that

“[c]ommon sense indicates that human intervention of some sort is required before

an autodialer can begin making calls, whether turning on the machine or initiating

its functions.” Id.

       14.     Consumers have a right to revoke consent from receiving autodialed

calls or prerecorded messages by using any reasonable method including orally or

in writing. Gager v. Dell Fin. Servs., LLC, 12-2823, 727 F.3d 265, 2013 U.S. App.

LEXIS 17579, 2013 WL 4463305 (3d Cir. Aug. 22, 2013).

                               FACTUAL ALLEGATIONS

       15.     Plaintiff allegedly incurred a debt to Defendant’s predecessor in interest,

“Navient” for an educational loan (the “Debt” or “debt”).

       16.     She was was thereafter plagued by Navient’s calls for years

commencing sometime between 2014 and 2017 to present.

       17.     The debt allegedly originated in or about October 2004.

       18.     In 2010, Plaintiff ceased making payments on the alleged debt.

       19.     Plaintiff did not receive any communication about the debt for some

time after that point.




   1
      --- F.3d ----, 2018 WL 4495553, at *9 (9th Cir. Sept. 20, 2018). Consequently, the Court
rejected appellee’s “argument that a device cannot qualify as an ATDS unless it is fully automatic,
meaning that it must operate without any human intervention whatsoever.” Id. at *9.
                                                4
         Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 5 of 14



           20.     However, in or about 2014 and as late at 2017, Navient begain placing

numerous calls to her cell phone and informed her she owed payments on the debt.

           21.     During this time, Plaintiff repeatedly requested Navient cease

contacting her by telling Navient’s representatives to “stop calling” her cell phone.

           22.     Indeed, Navient’s collection calls continued several months prior to

filing the instant suit resulting in a separate lawsuit brought against Navient for its

illegal debt collection conduct in this same court.2

           23.     At some point within the last year, Navient transferred, sold, assigned or

otherwise conveyed the Debt to WWR for collection.

           24.     Thereafter, WWR engaged in placing numerous pre-recorded calls

using an artificial or prerecorded voice to collect the debt from the Plaintiniff even

though Plaintiff already demanded that such communications cease thereby revoking

concent to receive such communications on numerous prior instances.

           25.     Indeed, within the several weeks prior to filing the instant complaint (let

alone statutory four year prior under the TCPA), Plaintiff received numerous calls

from WWR from the following phone number: (800)-837-0603.

           26.      WWR communicated with Plaintiff using “pre-recorded” messages or

messages which utilized an “artificial” or “pre-recorded” voice even though Plaintiff




2
    See Sylvia Y. Quinn v. Navient, 2:18-cv-01794-JAD-CWH (D. NV), filed September 17, 2018.

                                                        5
      Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 6 of 14



revokved consent to receive calls regarding this debt as early as 2016 by demanding

calls to her cell phone “stop”.

      27.    The calls dialed and complained of here were made using an artificial or

prerecorded voice without prior express consent to place such calls to Plaintiff’s cell

phone.

      28.    However, Defendant placed artificial or prerecorded voice calls to

Plaintiff’s cellular telephone without consent in violation of the TCPA even after she

advised WWR to cease calling her cell phone. Indeed, Defendant’s illegal artificial

or prerecorded voice calls have continued until days before filing this complaint.

      29.    The telephone number Defendant used to contact Plaintiff was and is

assigned to a cellular telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

      30.    Defendant’s calls to Plaintiff’s cellular telephone were not for

“emergency purposes.”

      31.    Plaintiff suffered actual harm and loss, since each of the unwanted calls

depleted Plaintiff’s cell phone’s battery, and the cost of electricity to recharge the

phone is a tangible harm. While small, this cost is a real one, and the cumulative

effect can be consequential, just as is true for exposure to X-rays resulting from

Defendant’s unwanted phone calls to Plaintiff’s cell phone.

      32.    Plaintiff also suffered from an invasion of a legally protected interest by

placing calls to Plaintiff’s personal phone line when Defendant had no right to do so,


                                            6
     Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 7 of 14



resulting in an invasion of Plaintiff’s right to privacy. The TCPA protects consumers

from this precise behavior.

      33.    Plaintiff has a common law right to privacy. E.g., Samuel D. Warren &

Louis D. Brandeis, The Right to Privacy, 4 Harv. L. Rev. 1155, 193 (1890).

Congress sought to further protect that right by enacting the TCPA.

      34.    “[W]hen a person must endure the bother of unwanted calls in the

privacy of her home, her harm is similar to other traditional injuries that courts have

long recognized, such as invasion of privacy and nuisance.” Toldi v. Hyundai

Capital Am., No. 2:16-CV—01877-APG-GWF, 2017 WL 736882, at *2 (D. Nev.

Feb. 23, 2017).

      35.    Plaintiff was also personally affected, since Plaintiff felt Plaintiff’s

privacy had been invaded when Defendant placed calls to Plaintiff’s phone line

without any consent to do so.

      36.    The injury suffered by Plaintiff is concrete because Defendant’s

violations caused Plaintiff to suffer an invasion of privacy.

                                CLASS ACTION ALLEGATIONS

      37.    Plaintiff brings this action on behalf of herself and Class Members of

the proposed Class pursuant to Federal Rules of Civil Procedure 23(a) and (b)(3)

and/or (b)(2).




                                            7
      Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 8 of 14



       38.    Plaintiff proposes to represent the following Class consisting of and

defined as follows:

              All persons within the United States who received any
              telephone call(s) from Defendant or its agent(s) and/or
              employee(s), not for an emergency purpose, on said person’s
              cellular telephone, made through the use of an artificial or
              prerecorded voice within the four years prior to the filing of this
              Complaint.

       39.    WWR and its employees or agents are excluded from the Class, as well

as the Court and its officers and employees. Plaintiff does not know the number of

members in the Class, but believes the Class members number in the several

hundreds, if not more. Thus, this matter should be certified as a Class action to assist

in the expeditious litigation of this matter.

       40.    Plaintiff and members of the Class were harmed by the acts of WWR in

at least the following ways: WWR, either directly or through its agents, illegally

contacted Plaintiff and the Class members via their cellular telephones by using

artificial or prerecorded voice messages, thereby causing Plaintiff and the Class

members to incur certain cellular telephone charges or reduce cellular telephone time

for which Plaintiff and the Class members previously paid, and invading the privacy

of said Plaintiff and the Class members as discussed above. Plaintiff and the Class

members were damaged thereby.

       41.    This suit seeks only damages and injunctive relief for recovery of

economic injury on behalf of the Class and it expressly is not intended to request any
                                                8
      Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 9 of 14



recovery for personal injury and claims related thereto. Plaintiff reserves the right to

expand the Class definition to seek recovery on behalf of additional persons as

warranted as facts are learned in further investigation and discovery.

      42.         The joinder of the Class members is impractical and the disposition of

their claims in the Class action will provide substantial benefits both to the parties

and to the court. The Class can be identified through WWR’s records or WWR’s

agents’ records.

      43.         There is a well-defined community of interest in the questions of law

and fact involved affecting the parties to be represented. The questions of law and

fact to the Class predominate over questions which may affect individual Class

members, including the following:

             i.       Whether, during the proposed class period, WWR or its agent(s)
                      placed any calls utilizing an artificial or prerecorded voice
                      messages to the Class (other than a message made for emergency
                      purposes or made with the prior express consent of the called
                      party) to any telephone number assigned to a cellular telephone
                      service;

            ii.       Whether Plaintiff and the Class members were damaged thereby,
                      and the extent of damages for such violations; and

          iii.        Whether WWR and its agents should be enjoined from engaging
                      in such conduct in the future.

      44.         As a person that received at least one non-emergency call via an

artificial or prerecorded voice message to their cell phone without prior express

consent, Plaintiff is asserting claims that are typical of the Class. Plaintiff will fairly
                                               9
     Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 10 of 14



and adequately represent and protect the interests of the Class in that Plaintiff has no

interests antagonistic to any member of the Class.

      45.    Plaintiff and the members of the Class have all suffered irreparable

harm as a result of the WWR’s unlawful and wrongful conduct. Absent a class

action, the Class will continue to face the potential for irreparable harm. In addition,

these violations of law will be allowed to proceed without remedy and WWR will

likely continue such illegal conduct. Because of the size of the individual Class

member’s claims, few, if any, Class members could afford to seek legal redress for

the wrongs complained of herein.

      46.    Plaintiff has retained counsel experienced in handling class action

claims and claims involving violations of the Telephone Consumer Protection Act.

      47.    A class action is a superior method for the fair and efficient adjudication

of this controversy. Class-wide damages are essential to induce WWR to comply

with federal. The interest of Class members in individually controlling the

prosecution of separate claims against WWR is small because the maximum

statutory damages in an individual action for violation of privacy are minimal.

Management of these claims is likely to present significantly fewer difficulties than

those presented in many class claims.




                                          10
      Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 11 of 14



       48.   WWR has acted on grounds generally applicable to the Class, thereby

making appropriate final injunctive relief and corresponding declaratory relief with

respect to the Class as a whole.

                                     COUNT I

                           Negligent Violations of the
                      Telephone Consumer Protection Act,
                            (47 U.S.C. § 227, et seq.)

       49.   Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

       50.   Defendant negligently placed multiple calls to cellular numbers

belonging to Plaintiffs without Plaintiffs’ prior express consent using a

prerecorded voice and/or artificial messages.

       51.   Each of the aforementioned calls by Defendant constitutes a negligent

violation of the TCPA.

       52.   As a result of Defendant’s negligent violations of the TCPA, Plaintiff

and the Class are entitled to an award of $500.00 in statutory damages for each

call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       53.   Additionally, Plaintiff and the Class are entitled to and seek injunctive

relief prohibiting such conduct by Defendant in the future.




///

                                         11
      Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 12 of 14



                                     COUNT II

                    Knowing and/or Willful Violations of the
                     Telephone Consumer Protection Act,
                           (47 U.S.C. § 227, et seq.)

       54.   Plaintiffs repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

       55.   Defendant knowingly and/or willfully placed multiple calls to cellular

numbers belonging to Plaintiffs without Plaintiffs’ prior express consent using

prerecorded voices and/or artificial messages.

       56.   Each of the aforementioned calls by Defendant constitutes a knowing

and/or willful violation of the TCPA.

       57.   As a result of Defendant’s knowing and/or willful violations of the

TCPA, Plaintiff and the Class are entitled to an award of treble damages up to

$1,500.00 for each call in violation of the TCPA pursuant to 47 U.S.C. §

227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

       58.   Additionally, Plaintiff and the Class are entitled to seek injunctive

relief prohibiting such conduct by Defendant in the future.




///

                                          12
      Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 13 of 14



                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff seeks for herself and each Class member that

judgment be entered against WWR awarding as follows:

          1. Injunctive relief prohibiting such violations of the TCPA by Defendant

             in the future;

          2. Statutory damages of $500.00 for each and every call in violation of the

             TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);

          3. Treble damages of up to $1,500.00 for each and every call in violation

             of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

          4. An award of attorney’s fees and costs to counsel for Plaintiff; and

          5. Such other relief as the Court deems just and proper




///


                                          13
    Case 2:18-cv-01909-JAD-CWH Document 1 Filed 10/03/18 Page 14 of 14



            TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: October 3, 2018

                                  Respectfully submitted,

                                  By /s/ David H. Krieger, Esq.
                                  David H. Krieger, Esq.
                                  Nevada Bar No. 9086
                                  George Haines, Esq.
                                  Nevada Bar No. 9411
                                  Shawn Miller, Esq.
                                  Nevada Bar No. 7825
                                  HAINES & KRIEGER, LLC

                                  Matthew I. Knepper, Esq.
                                  Nevada Bar No. 12796
                                  Miles N. Clark, Esq.
                                  Nevada Bar No. 13848
                                  KNEPPER & CLARK LLC

                                  Attorney for Plaintiff
                                  SYLVIA QUINN, individually and those
                                  similarly situtated




                                    14
